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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 – – – – – – – – – – – – – – – –X
                                                   PROPOSED
 UNITED STATES OF AMERICA                          SPECIAL VERDICT FORM
                                                   FOR FORFEITURE
            - against -
                                                   23-CR-146 (DG)
 RACHEL CHERWITZ and
 NICOLE DAEDONE,

                          Defendants.

 – – – – – – – – – – – – – – – –X



 Forced Labor Conspiracy


 1.    Do you find by a preponderance of the evidence that the approximately $782,359.00 from

       Fidelity account NBJ-019265, held in the name of NICOLE DAEDONE, is property, real

       or personal, constituting or derived from, any proceeds obtained, directly or indirectly, as

       a result of the forced labor conspiracy for which you have convicted the defendants, or

       any property traceable to such property?

                     __________ Yes                  __________ No



 2.    Do you find by a preponderance of the evidence that the approximately $282,073.99 from

       Fidelity account NBJ-019298, held in the name of NICOLE DAEDONE, is property, real

       or personal, constituting or derived from, any proceeds obtained, directly or indirectly, as

       a result of the forced labor conspiracy for which you have convicted the defendants, or

       any property traceable to such property?

                          __________ Yes                __________ No
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                The foreperson should sign and date this Special Verdict Form and notify the Court

 that you have reached a verdict.



                                                     ____________________________
                                                     Jury Foreperson


 Dated: Brooklyn, New York
        June ________, 2025




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